Case 4:21-cr-06042-MKD   ECF No. 453-2   filed 04/08/22   PageID.1597 Page 1 of 4




                         Attachment B
Case 4:21-cr-06042-MKD          ECF No. 453-2      filed 04/08/22          PageID.1598 Page 2 of 4
                                                     U. S. Department of Justice
                                                     United States Attorney
                                                     Eastern District of Washington
                                                     Suite 340 Thomas S. Foley U. S. Courthouse
                                                     P. O. Box 1494
                                                     Spokane, Washington 99210-1494
                                                     Main (509) 353-2767 | Fax (509) 353-2766


                                                     February 8, 2022


 Craig Webster;                                   Ricardo Hernandez;
 Counsel for Ali Abed Yaser (#1);                 Counsel for Ameer R. Mohammed (#13);
 Craig_Webster@fd.org                             rick@rickhernandez.lawyer
 Adam R. Pechtel;                                 Deric Orr;
 Counsel for Hussein A. Yasir (#2);               Counsel for Mohammed F. Al-Himrani (#14);
 adam@pechtellaw.com                              dericorr@johnsonorr.com
 Nicholas W. Marchi;                              Tim Nguyen;
 Counsel for Insaf A. Karawi (#3);                Counsel for Maria Elena Sanchez (#15);
 nmarchi@carmarlaw.com                            timnguyen@troyleelaw.net
 Richard A. Smith;                                Gregory L. Scott;
 Counsel for Hasanein A. Yaser (#4);              Counsel for Seifeddine A. Al-Kinani (#16);
 rasmith@house314.com                             gregory@scottlaw.net,
 Sandy Baggett;                                   Gary Metro;
 Counsel for Mohammad Bajay (#7);                 Counsel for Firas S. Hadi (#18);
 sdbaggett@hotmail.com                            garymetro@outlook.com,
                                                  garymetrolawfirm@gmail.com
 John G. Lockwood;                                Zachary L. Ayers;
 Counsel for Noor Tahseen Al-Maarej (#9);         Counsel for Khalil Abdul-Razaq (#20);
 jgregorylockwood@hotmail.com,                    zach@ayerslawfirm.net
 Scott Johnson;                                   Douglas E. McKinley Jr.;
 Counsel for Ali F. Al-Himrani (#10);             Counsel for Jesus George Sanchez (#21);
 scott@johnsonorr.com,                            doug@mckinleylaw.com
 Kent N. Doll;                                    Roger Peven;
 Counsel for Rana J. Kaabawi (#11); kdoll@ks-     Counsel for Sinan Akrawi (#22);
 lawyers.com,                                     rjpeven@gmail.com
 Robert M. Seines;                                Bryan P. Whitaker;
 Counsel for Amar F. Abdul-Salam (#12);           Counsel for Mohammed Naji Al-Jibory (#23);
 rseines@msn.com, rseines@comcast.net             Whitakerbal@gmail.com

       Re:      United States v. Yaser et al
                Court No. 21-CR-06042-SMJ
                Discovery Disclosure #3

Dear Counsel:

        The following table details in bold what is being disclosed as part of this third discovery
disclosure. This disclosure is being provided to you through USAfx and should be downloaded at
your earliest convenience. This third discovery disclosure includes discovery produced as part of
the “rolling basis” discovery production and consists of Additional FBI Reports and Investigative
Materials, Additional Criminal Histories, Grand Jury Transcripts of testimony from Agent Matt
McKay and Sinue Guzman, and Jail calls from Ali Abid Yaser, Ameer Mohamad, Hussayn Yasir
Khalil Abdul-Razzak and Mohammed Al-Jibori. The disclosures are detailed as follows:
Case 4:21-cr-06042-MKD            ECF No. 453-2        filed 04/08/22      PageID.1599 Page 3 of 4


February 8, 2022
Page 2

 Disclosure                             Description                             Date of Production

               10000001 – 10002606: FBI Reports & Investigative
               Materials
               20000001 – 20000354: CHS Audio Files                                 January 20, 2022
      1        30000030-30000077, 30000112-30000114, 30000117-                            Via
               30000129, 30000136-30000137: Search Warrants 1                           USAfx
               40000001 – 40000018: Additional Reports
               50000001 – 50000015: Recorded Interviews
               60000001 – 60006522: Claim Files
               70000001 – 70000544: Bank Records
               80000001 – 80000689: Other Disclosures
                 Total GB: 106
               30000000- 30000029, 30000078- 30000111, 30000114-                    January 28, 2022
      2        30000116, 30000130- 30000135: SD CA Search Warrants                        Via
               90000001- 90000004: Grand Jury Transcripts                               USAfx
               10002607-10003081: FBI Reports & Investigative
               Materials                                                           February 8, 2022
      3        80000690-80000696: Additional Criminal Histories                          Via
               90000005-90000006: Grand Jury Transcripts                               USAfx
               11000001-11000021: Jail Calls

        Please be advised that all materials disclosed to you in this cause are subject to all terms and
conditions of the Protective Order (ECF Nos. 176 and 252). You hereby affirm that no copies shall be
disseminated to any person without the expressed written approval of the United States Attorney’s Office
and/or Court order. This agreement is not intended to prevent you from discussing the discovery materials
with your client or providing materials to your client, but it is incumbent on you and your client to ensure
that any discovery materials are used solely for the purpose of your client’s defense and that sensitive
information or other materials are not left in your client’s possession or are redacted as necessary.

        At this time, the United States anticipates additional discovery materials will be provided
as they are received and processed by the U.S. Attorney=s Office. Additional discovery material
is likely to include, but may not be limited to, grand jury transcripts, electronically stored
information (ESI) (e.g., digital forensic copies of electronic devices), video surveillance (i.e., pole
cam footage), law enforcement reports, and other documents (including but not necessarily limited
to any Giglio / Henthorn material) that may be relevant to this matter.

        Numerous electronic devices were seized by the FBI pursuant to the search warrants
executed during the investigation. Each device seized is identified in the search warrant returns.
The FBI imaged most, but not all of the devices. If you would like copies of all electronic devices
that the FBI seized and was able to image, please send an external hard drive containing at least
14 TBs of storage capacity directly to FBI Special Agent Matthew McKay, at the FBI Office, Suite
199, 825 Jadwin Avenue, Richland, Washington, 99352. Special Agent McKay will then send
your external hard drive to the FBI CART Unit in Seattle, Washington, to process the seized and
imaged ESI on to your hard drive. If you do not want all the ESI but only a copy of the ESI that
may have been seized from your client (Note: ESI was not seized from every named defendant) or
a particular co-defendant(s), please let us know. As a further note, ESI the FBI seized from
Case 4:21-cr-06042-MKD         ECF No. 453-2      filed 04/08/22    PageID.1600 Page 4 of 4


February 8, 2022
Page 3

defendant Maria Elena Sanchez is still undergoing a filter review for potential attorney-client
privilege information and has not been made available to the prosecution team. If you have any
questions about this particular ESI, please contact Assistant United States Attorneys George J. C.
Jacobs, III or Dominique Juliet Park.

       Physical evidence is available for your inspection by contacting Assistant United States
Attorneys George J.C. Jacobs, III or Dominique Juliet Park to arrange a mutually convenient date
and time.

                                                    Very truly yours,

                                                    Vanessa R. Waldref
                                                    United States Attorney

                                                    s/ George J.C. Jacobs, III
                                                    George J.C. Jacobs, III
                                                    Dominique Juliet Park
                                                    Assistant United States Attorneys
